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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 NATALIE REESER,
                                               Case No. 2:14-cv-11916-GCS-MJH
              Plaintiff,                       Hon. George Caram Steeh
 v                                             Magistrate Judge Michael Hluchaniuk

 HENRY FORD HOSPITAL,

              Defendant.

 MILLER COHEN, P.L.C.                         VARNUM LLP
 Keith D. Flynn (P74192)                      Terrance J. Miglio (P30541)
 Adam C. Graham (P79361)                      Barbara E. Buchanan (P55084)
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            PLAINTIFF’S MOTION TO AMEND HER COMPLAINT

       Plaintiff hereby requests an Order granting her request to Amend her

 Complaint.

       1.     This action was filed May 13, 2014.

       2.     Plaintiff seeks to amend the caption to change the named defendant

 from “Henry Ford Hospital” to “Henry Ford Health System, d/b/a Henry Ford

 Hospital,” which, according to Defendant, is its proper business title. (Exhibit A)

       3.     The amendment of the Complaint would cause no prejudice to

 Defendant because the current named Defendant, “Henry Ford Hospital” is an
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 assumed name of “Henry Ford Health System”. (Exhibit B) In addition, throughout

 discovery, Defendant has accepted service and responded to requests. Defendant was

 clearly on notice.

           4.   Plaintiff sought concurrence, which was not obtained at the time of

 filing.

           WHEREFORE, for the reasons in the attached brief in support, Plaintiff

 requests this Honorable Court to grant her request to Amend her Complaint.



                                              Respectfully submitted,
                                              MILLER COHEN, P.L.C.

                                         By: /s/Keith D. Flynn
                                             Keith D. Flynn (P74192)
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 Dated: June 8, 2015




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 NATALIE REESER,
                                         Case No. 2:14-cv-11916-GCS-MJH
            Plaintiff,                   Hon. George Caram Steeh
 v

 HENRY FORD HOSPITAL,

            Defendant.

 MILLER COHEN, P.L.C.                     VARNUM LLP
 Keith D. Flynn (P74192)                  Terrance J. Miglio (P30541)
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                PLAINTIFF’S BRIEF IN SUPPORT OF
          PLAINTIFF’S MOTION TO AMEND HER COMPLAINT
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                   MOST CONTROLLING AUTHORITIES


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               STATEMENT OF QUESTIONS PRESENTED

   1. Whether Plaintiff should be allowed to amend her Complaint to change the

      captioned Defendant’s name from “Henry Ford Hospital” to “Henry Ford

      Health System d/b/a Henry Ford Hospital” where “Henry Ford Hospital” is

      the assumed name of “Henry Ford Health System”, where “Henry Ford Health

      System” received notice at the time of service of the Complaint, where the

      case has been fully litigated by “Henry Ford Health System,” and where

      Defendant will not be prejudiced by the amendment.


            Plaintiff Answers:      Yes




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                 PLAINTIFF’S BRIEF IN SUPPORT OF
           PLAINTIFF’S MOTION TO AMEND HER COMPLAINT

                                I. INTRODUCTION

       Plaintiff seeks to amend the caption to change the named defendant from

 “Henry Ford Hospital” to “Henry Ford Health System, d/b/a Henry Ford Hospital,”

 which, according to Defendant, is their proper business title. The amendment of the

 Complaint would cause no prejudice to Henry Ford Health System because the

 current named Defendant, “Henry Ford Hospital” is an assumed name of “Henry

 Ford Health System”. (Exhibit B) In addition, both “Henry Ford Hospital” and

 “Henry Ford Health System” are presented as Defendant’s name on its website.

 (Exhibit C) Defendant’s Senior Business Partner even identifies herself as an

 employee of Henry Ford Hospital. (Exhibit D) In Defendant’s response to the

 Michigan Department of Licensing and Regulatory Affairs, Defendant referred to

 itself as “Henry Ford Hospital” and even noted that “On January 20, 2014, Ms.

 Natalie Reeser placed Henry Ford Hospital Human Resources on notice . . . .” (Id.)

 The resident agent of Henry Ford Health System is Edith Eisenmann who is located

 at 1 Ford Place-5B Governance in Detroit, Michigan. (Exhibit B) That is where the

 Summons and Complaint was served at the initiation of this litigation. (Exhibit E)

 Terrence Miglio was also served with a copy of the Summons and Complaint per his

 assertion that he represented the Defendant. Defendant’s counsel even indicated in

 the 26(f) Plan filed with this Court that: “Plaintiff's employment with Defendant was
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 terminated for legitimate, non-discriminatory and non-retaliatory reasons.” [Dkt.

 No. 9; Pg ID 56] Throughout discovery, Defendant has accepted service and

 responded to requests. Henry Ford Health System’s managerial agents have been

 deposed without subpoena as party representatives. Defendant was clearly on notice

 of the claims presented in this lawsuit.

                            II. STANDARD OF REVIEW

       According to FED. R. CIV. PRO. 15(a)(2), leave to amend pleadings should be

 freely given “when justice so requires.” “Correcting a misnomer has long been

 regarded as a legitimate function of Federal Rules of Civil Procedure 4(h) and 15(c)

 and such amendments are uniformly held to relate back to the time of the original

 filing or service of process.” Triangle Distributing Inc. v. Shafer, Inc., No. 90-4042,

 943 F.2d 52, at * 2 (6th Cir. 1991) (attached as Exhibit F) “Rule 15(c) of the Federal

 Rules of Civil Procedure governs when an amended pleading ‘relates back’ to the

 date of a timely filed original pleading and is thus itself timely even though it was

 filed outside an applicable statute of limitations.” Krupski v. Costa Crociere S. p. A.,

 560 U.S. 538, 541 (2010). If “an amended pleading changes a party or a party’s

 name, the Rule requires, among other things, that ‘the party to be brought in by

 amendment . . . knew or should have known that the action would have been brought

 against it, but for a mistake concerning the proper party’s identity.’” Id. (quoting

 FED. R. CIV. PRO. 15(c)(1)(C)). The U.S. Supreme Court has held “that relation back


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 under Rule 15(c)(1)(C) depends on what the party to be added knew or should have

 known, not on the amending party’s knowledge or its timeliness in seeking to amend

 the pleading.” Id.

       [I]n order for the amended pleadings to relate back under Rule 15(c):
       (1) the basic claim must have arisen out of the conduct set forth in the
       original pleading; (2) the party to be brought in, whether new or a
       misnomer, must have received such notice that it will not be prejudiced
       in maintaining its defense; (3) that party must or should have known
       that, but for a mistake concerning identity, the action would have been
       brought against it; and (4) the second and third requirements must have
       been fulfilled within the prescribed limitations period.

 Daily v. Monte, 26 F. Supp. 2d 984, 987 (E.D. Mich. 1998) (citing Schiavone v.

 Fortune, 477 U.S. 21, 29 (1986)).

       Where an amended complaint “alleges in substance that the new defendants

 committed the illegal acts and are officials of the original defendant, that relationship

 may imply receipt of sufficient notice.” Id. (citing John Doe v. Sullivan County, 956

 F.2d 545 (6th Cir.1992)); see also Garretson v. City of Madison Hts., No. 02-73219,

 2005 WL 3447873, at *1-2 (E.D. Mich. December 15, 2005)(attached as Exhibit

 G)(The Court granted leave to amend the complaint over four years after the

 complaint had been filed, after summary judgement had been granted, and after the

 subsequent appeal where the same counsel would represent the opposing party and

 where “extensive discovery” had been conducted.). The Sixth Circuit has held that:

       Rule 15(c) does not require that the new defendants received actual
       notice. It is enough that the new defendants received constructive notice
       of the suit ... under some circumstances, notice can also be imputed to
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       a new defendant ... where the complaint alleges in substance that the
       new defendants committed the illegal acts and are officials of the
       original defendant, that relationship may imply receipt of sufficient
       notice.”

 Berndt v. State of Tennessee, 796 F.2d 879, 884 (6th Cir.1986).

                            III. LAW AND ARGUMENT

       This motion involves the misnomer of a party defendant. Plaintiff concedes

 that the current Defendant, Henry Ford Hospital, is an assumed name of Henry Ford

 Health System. Despite this misnomer, Henry Ford Health System will not be

 prejudiced in any way by allowing Plaintiff to amend her complaint because Henry

 Ford Health System and its attorneys were timely served with the Plaintiff’s original

 complaint.

       This amendment relates back to the original filing date under FED. R. CIV.

 PRO. 15(c). Plaintiff asks this Court to grant her leave to amend her Complaint to

 substitute in “Henry Ford Health System d/b/a Henry Ford Hospital” as the correct

 name of the Defendant. (Exhibit A)

 Plaintiff’s error is a misnomer and is amendable under FED. R. CIV. PRO. 15(c)

       In Triangle Distributing Inc. v. Shafer, Inc., No. 90-4042, 943 F.2d 52 (6th

 Cir. 1991) (attached as Ex. F), the Sixth Circuit stated:

       [i]n deciding whether to allow a party to amend the process and/or
       complaint to correct an asserted misnomer of the defendant, the general
       test should be whether, on the basis of an objective standard, it is
       reasonable to conclude that the plaintiff had in mind a particular entity
       or person, merely made a mistake as to the name, and actually served
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       the entity or person intended; or whether plaintiff actually meant to sue
       a different person.

 Triangle Distributing at *2-3 (citing 2 Moore’s 4.44 at 4-558 (2d ed 1980)). The

 court held that where a plaintiff brought action against the assumed name of the

 correct Defendant and the correct Defendant received actual notice of the action

 against them, amendment of the case caption to add the correct Defendant was

 proper. Id. at *3.

       There is no question that “Henry Ford Health System” knew or should have

 known that this action would be brought against it, but for a mistake concerning the

 proper party’s identity. Henry Ford Hospital is an assumed name of Henry Ford

 Health System and the two names appear together on the Henry Ford Hospital

 website as well as in response to the State of Michigan’s investigation. (Exhibits B-

 D) Defendant “Henry Ford Hospital” has responded to discovery requests, made

 discovery requests, scheduled depositions, and accepted service. The complaint in

 this case was served on Henry Ford Health System’s resident agent at their registered

 office as well as on their attorney.

       Plaintiff’s Motion to Amend Her Complaint does not change the claims in the

 original pleading or prejudice Henry Ford Health System. Each of the requirements

 stated in Daily have been met in this action, and, therefore, the amendment relates

 back to the original filing date under FED. R. CIV. PRO. 15(c).

       Plaintiff asks this Court grant her leave to amend her complaint to substitute
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 Henry Ford Health System in place of Henry Ford Hospital as a party Defendant.

               IV. CONCLUSION AND RELIEF REQUESTED

       WHEREFORE, the Plaintiff respectfully requests that this Court grant her

 leave to amend his complaint to substitute Defendant’s proper name.



                                             Respectfully submitted,
                                             MILLER COHEN, P.L.C.

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 Dated: June 8, 2015




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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 NATALIE REESER,
                                               Case No. 2:14-cv-11916-GCS-MJH
              Plaintiff,                       Hon. George Caram Steeh
 v

 HENRY FORD HOSPITAL,

              Defendant.

  MILLER COHEN, P.L.C.                          VARNUM LLP
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  Adam C. Graham (P79361)                       Barbara E. Buchanan (P55084)
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                           CERTIFICATE OF SERVICE

       I hereby certify that on June 8, 2015, I electronically filed the foregoing

 document(s) with the Clerk of the Court using the ECF filing system, which will

 send notification of such filing to all Counsel of record.

                                               Respectfully submitted,
                                               MILLER COHEN, P.L.C.
                                          By: /s/Keith D. Flynn
                                              Keith D. Flynn (P74192)
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